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aged count
-v- 2:030R20431-01-D m£;%%§;;;{, ,é§jm

SHELLY S. PERRY
Handel Durham CJA
Defense Attorney
100 N. Main, Suite 3200
Memphis, TN 38103

 

 

*A*M*E*N*D*E*D* JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 through 9 of the indictment on June Ot, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tiue a section NMMQQ_§Q Offense M_nM(§_l
Concluded
18 U.S.C. §§1341 & 2 Nlail Fraud 11118!2003 1 through 9

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the N|andatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
finesl restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/02/1972 lVlarch 25, 2005
Deft’s U.S. Marshal No.: 19289-076

Defendant’s Mailing Address:
3375 Coachouse Cove
|Vlemphis, TN 38134

  
  

 
     
 

BERNlcE e. DONALD
uNlTEp sTATEs DlsTRlcT Juer

~ JuneBL, 2005
This docc_ment entered on the docket sheet in com ll cs
with sine 55 and/or 32113) Fnch on __l."’_/"_§_

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Case No: 2:OSCR20431-01-D Defendant Name: She|iy S. PERRY Page 2 of 10
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of Time Served - One (1) Day.

The defendant shall surrender'for service of sentence at the Ha|fway House designated by the
Bureau of Prisons as notified by the Probation Oft"ice.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES lVlARSi-iAL
By:

 

Deputy U.S. Niarshai

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Case No: 2:03CR20431-01-D Defendant Name: Sheliy S. PERRY Page 3 of 10

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofhcer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ofhcer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance. or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used.
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:03CR20431-01-D Defendant Name: Shelly S. PERRY Page 4 of 10

10. The defendant shall notify the probation ofhcer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such hhs or restitution in accordance with the Schedufe of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADDiTiONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of
supervised release:

The defendant shall participate in the Home Detention program for a period of 9 Months.
During this time, defendant will remain at defendants place of residence except for
employment and other activities approved in advance by the defendant’s Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Westem District of Tennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specihed by the Probation
Officer. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer
based on ability to pay (or availability of third party payment) and in conformance with the
Probation Office’s Sliding Scale for E|ectronic Monitoring Services;

The defendant shall serve a period of 9 Months in a Ha|fway House as instructed by the
Probation Officer;

The defendant shall participate in substance abuse testing and treatment as directed by the
Probation Officer;

The defendant shall seek and maintain lawful employment;
The defendant shall provide third party risk notification;

The defendant shall cooperate with DNA collection as directed by the Probation Officer.

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Case No: 2:03CR20431-01-D Defendant Name: Shelly S. PERRV Page 5 of 10

CR|M|NAL MONETARY PENALTIES

The defendant shall paythefoilowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$900.00 $122,695.35

The Special Assessment shall be due immediate|y.
FiNE
No fine imposed.
*REST|TUTION

Restitution in the amount of $122,695.35 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

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Case No: 2:030R20431-01-D Defendant Name: Shelly S. PERRY

Name of Pay_ee

Anne Alexander
Saugata Banerjee
Al|en Baradar
close Barrera

|gor Bershadskiy
Eiieen Betancourt
Marcus Brooks
Linda Burn|ey
Daniela Carnacho
Regina Canzeri
Catarino Carri||o
Terry Cathey
|Vlelinda Chiidress
John Cole

James Cowan
Lyda Cox

Kristine Creed
Anna Cwiek
Shirley Dalzell
Myma Diaz

Wael E|atar
Cynthia Eller

Kelly Emery

Total Amount
of Loss

$1,199.00
1,340.00
1,050.00
1,799.00
1,899.00

577.75
1,699.00
1,449.00
1,949.00
1,999.99
1,575.00
1,804.00
1,699.00
1,755.00
1,848.00
1,755.31
2,348.00
1,250.00
1,249.00
1,504.00
1,300.00
1,700.00

1,649.00

Amount of

Restitution Ordered

$1,199.00
1,340.00
1,050.00
1,799.00
1,899.00

577.75
1,699.00
1,449.00
1,949.00
1,999.99
1,575.00
1,804.00
1,699.00
1,755.00
1,848.00
1,755.31
2,348.00
1,250.00
1,249.00
1,504.00
1,300.00
1,700.00

1.649.00

Page 6 of 10

Priority Order
or Percentage

of Payment

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Case No: 2:030R20431-01-D Defendant Name: Shelly S. PERRY

Name of Payee

Jim Erskine
Chris Farmer
Robert Fia|a

Joy Fisher

Raul Fuentes
Raymond Garcia
Cynthia Garza
John George
Dennis Goodrich
Miche|e Green
Sonja Griesbach
Brady Gruhn
Kimberly Hervey
Connie Hess
Sheena Hubbard
Pamela Kayden
Brandon Kennedy
Steven Keresztes
Chris Kirman
Raffy Kouyoumdjian
Jina Kryder

Wesley Laird

Total Amount
of Loss

$1,598.00
1,549.00
1,999.00
1,599.00
1,249.00
1,549.00
1,399.00

459.80
1,329.00
1,699.00
1,574.00
1,699.00
1,699.00
1,505.00
1,854.00
1,250.00
1,199.00
1,250.00
1,749.00
1,050.00
1.699.00
1,749.00

Amount of

Restitution Ordered

$1,598.00
‘|,549.00
1,999.00
1,599.00
1,249.00
1,549.00
1,399.00

459.80
1,329.00
1,699.00
1,574.00
1,699.00
1,699.00
1,505.00
1,854.00
1,250.00
1,‘| 99.00
1,250.00
1,749.00
1,050.00
1,699.00

1,749.00

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Priority Order
or Percentage

of Payment

Case 2:03-cr-20431-BBD Document 36 Filed 06/30/05 Page 8 of 11 PagelD 71

Case No: 2:03CR20431-01-D Defendant Name: Shelly S. PERRY

Name of Payee
Sherry Lavoie

Lisa L.ucier

Mika Ma

E|lis Martinez

Jami McMilien
Karen Mitchei|
Margaux Mora|es
Roderick i'viorris
Suhaii Mousa
Michae| N|urray
Tea Niison

Brenda Norris
Andrew Paciga
Michae| Pa|mer
John Richards
isabel del Rio
Stephanie Rutledge
Elizabeth Shain
Christopher Simmons
Ashley A. Smith
Brian and Jill Smith
Eiieen Smith

Wi|liam Snowden

Total Amount
of Loss

$1,499.00
1,299.00
2,1 10.00
1,699.00
1,599.00
1,575.00
1,799.00
1,499.00
1,654.00

999.00
1,699.00
1,799.00

600.00

1,698.00
1,499.00
1,725.00
1,699.00
1.924.00
1,300.00
1,749.00
1,599.00
295.00

1,249.00

Amount of

Restitution Ordered

$‘i ,499.00
1,299.00
2,110.00
1,699.00
1,599.00
1,575.00
1,799.00
1,499.00
1,654.00

999.00
1,699.00
1,799.00

600.00
1,698.00
1,499.00
1,725.00
1,699.00
1,924.00
1,300.00
1,749.00
1,599.00

295.00

1,249.00

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Priority Order
or Percentage

of Pay_ment

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Case No: 2:03CR20431-01-D Defendant Name: Shelly S. PERRY Page 9 of 10

Priority Order

Total Amount Amount of or Percentage

Name of Payee of Loss Restitution Ordered of Payment

Janice Taylor $1,693.00 $1,693.00
Tura Thompson 1,194.00 1,194.00
Yarimith Trejos 1,548.00 1,548.00
Mary Trizila 1,504.00 1,504.00
Lori Vlahopoulos 1 ,500.00 1 ,500.00
Aries Webb 1,625.00 1,625.00
Gary Webber 1,649.00 1,649.00
Craig West 1,749.00 1,749.00
John Wi|liams 929.50 929.50
Octavia Wi|liams-Blake 1,699.00 1,699.00
Amber Wood 1 ,199.00 1,199.00
LaShawn Wrice 1.035.00 1,035.00
Timothy Zelenka 1,699.00 1,699.00

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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Case No: 2:03CR20431-01-D Defendant Name: Shelly S. PERR¥ Page 10 of 10

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. The interest requirement is waived. The defendant
shall notify the Court and the U. S. Attorney of any material change in economic
circumstances that may affect defendant’s ability to pay restitution.

Un|ess the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment, Aii criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' inmate Financial Responsibility Program, are made to the clerk of the
court, unless othenivise directed by the court, the probation ofncer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed .

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:03-CR-20431 Was distributed by faX, mail, or direct printing on
July i, 2005 to the parties listed.

 

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

i\/lemphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

